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April 6*, 2021

To whom it may concern,

Julian Khater is one of my closest and dearest cousins; so close,
he is practically a brother to me. I have known him my whole
life, and have always known him to be an affectionate and
thoughtful person. When I was informed about Julian being in
trouble, like the rest of the family, I was in disbelief. Julian
would never hurt anyone or anything, He is one of the kindest
and most empathetic people I know. I am one of the younger
cousins in our family, and Julian would always stay behind to
play with me when I wasn't able to partake in the older kids’
activities. He would never let anyone feel left out or upset, and
would rather sacrifice his wants just to put a smile on someone
else’s face. .

Julian Khater is an honorable person, with good morals and a
family that loves and misses him incredibly. He is an amazing
uncle and Godfather, always putting his nieces and nephews
needs before his own. He is an adored brother and son, always
supporting his family in times of need. He is very involved in all
family businesses and takes on many responsibilities to ensure
the happiness of his family and the success of their investments.
When his father became interested in the “Frutta bowls” chain,
Julian was by his side, no questions asked. He even uprooted
himself and moved to the location of the chain to aid his father
in managing the new business. Even after moving away from his
family, he manages to see all of his nieces and nephews by
traveling from state to state constantly, only to brighten
everyone’s day and spend time with the people he loves most.

He is a very trustworthy and family oriented man. He is a hard
worker, and is thought of with the utmost respect with regards to
his occupations and his everyday self. Julian could not hurt a fly,
much less another person, and I know that will all of my heart.
He comes from an upstanding family, with good.morals and
judgement.

I don’t believe for one minute that my cousin could ever do
something like he is being accused of. Julian Khater is a
compassionate and patient person that stayed behind to play —
with me, his little cousin, because he cared more about my
happiness than his own.

Thank you, —t—
Joanna Khater ete Ke “

   
  

 

 
